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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

                                               )
Coalition for Open Democracy, League of        )
Women Voters of New Hampshire, The             )
Forward Foundation, McKenzie Nykamp            )
Taylor, December Rust, Miles Borne, by his     )
next friend Steven Borne, Alexander Muirhead, )
by his next friend Russell Muirhead, and Lila )
Muirhead, by her next friend Russell Muirhead, )
                                               )
                        Plaintiffs,            )
                                               )    Civil Action No. 1:24-cv-00312
        vs.                                    )
                                               )
                                               )
David M. Scanlan, in his official capacity as  )
New Hampshire Secretary of State, and John     )
Formella, in his official capacity as New      )
Hampshire Attorney General,                    )
                                               )
                        Defendants.            )


                              AFFIDAVIT OF MING CHEUNG

         I, Ming Cheung, do hereby depose and swear as follows:

         1.     In accordance with Local Rule 83.2(b)(1)(A), I am an attorney at the American

Civil Liberties Union Foundation, Inc. My office address is 125 Broad Street, 18 th Floor, New

York, NY 10004. My email address is mcheung@aclu.org, and my telephone number is (212)

549-2500.

         2.     In accordance with LR 83.2(b)(1)(B), the following are the courts in which I am

admitted to practice, along with the years and dates of my admission.

 Court                                          Date of Admission       Bar Number

 New York Supreme Court,            Appellate January 9, 2019           5647763
 Division, Second Department
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 U.S. Court of Appeals for the Fourth Circuit    January 10, 2019

 U.S. Court of Appeals for the Fifth Circuit     September 26, 2023

 U.S. Court of Appeals for the Eleventh Circuit December 15, 2023

 U.S. Court of Appeals for the D.C. Circuit      March 2, 2022

 U.S. District Court for the Southern District March 1, 2022
 of New York


       3.      In accordance with LR 83.2(b)(1)(C), I am a member in good standing and eligible

to practice in the above-listed courts.

       4.      In accordance with LR 83.2(b)(1)(D), I am not currently and have never been

suspended or disbarred in any jurisdiction.

       5.      In accordance with LR 83.2(b)(1)(E)(1), I have not been denied admission to

practice before any court.

       6.      In accordance with LR 83.2(b)(1)(E)(2), I have not previously been disciplined by

any court, nor am I subject to any pending disciplinary matters.

       7.      In accordance with LR 83.2(b)(1)(E)(3), I have not been convicted of any felony or

misdemeanor crimes.

       8.      In accordance with LR 83.2(b)(1)(F), with the exception of this Court’s temporary

denial without prejudice of admission pro hac vice in this matter, no court has previously denied

or revoked my pro hac vice status.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




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Date: October 17, 2024                     Respectfully submitted,

                                   /s/ Ming Cheung
                                   Ming Cheung
                                   AMERICAN CIVIL LIBERTIES UNION
                                   FOUNDATION
                                   125 Broad Street, 18th Floor
                                   New York, NY 10004
                                   (212) 549-2500
                                   mcheung@aclu.org




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                                  CERTIFICATE OF SERVICE

        I certify that on October 22, 2024, I served a copy of this affidavit on counsel for defendants
by filing the same through the Court’s electronic filing system.

                                                        /s/ Henry Klementowicz
                                                        Henry Klementowicz




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